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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------x
NICHOLAS MAGALIOS,

                                            Plaintiff,

                          - against -
                                                                                 JUDGMENT
C.O. MATHEW PERALTA,
                                                                             No. 19-CV-6188 (CS)
C.O. TIMOTHY BAILEY, and
C.O. EDWARD BLOUNT,

                                             Defendants.
----------------------------------------------------------------------x


        It is hereby ORDERED, ADJUDGED, AND DECREED:

        That after a Jury Trial before the Honorable Cathy Seibel, United States District Judge, in

which the Jury returned a verdict for Plaintiff on the claims for Excessive Force and Failure to

Intervene, that Plaintiff Nicholas Magalios have judgment for compensatory damages against

defendants C.O. Mathew Peralta, C.O. Timothy Bailey, and C.O. Edward Blount jointly and

severally in the amount of $50,000.00; Plaintiff have judgment for punitive damages against

C.O. Mathew Peralta in the amount of $350,000.00; Plaintiff have judgment for punitive

damages against C.O. Timothy Bailey in the amount of $350,000.00; and Plaintiff have

judgment for punitive damages against C.O. Edward Blount in the amount of $250,000.00.

        The Clerk of Court is respectfully directed to enter judgment for Plaintiff accordingly.

SO ORDERED.

Dated: June 1, 2021
       White Plains, New York

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                                                               CATHY SEIBEL, U.S.D.J.
